     Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 1 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION



RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIR LLC,

                          Plaintiffs,
                                              Civil Case No. 5:19-cv-55-TKW-MJF
      v.

INTUITIVE SURGICAL, INC.,

                          Defendant.

INTUITIVE SURGICAL, INC.,

                    Counterclaimant,

      v.

RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIR LLC,

             Counterclaim Defendants.

                            JOINT STATUS REPORT

      Plaintiffs/Counterclaim Defendants Restore Robotics LLC and Restore

Robotics Repairs LLC (together, “Restore”) and Defendant/Counterclaimant

Intuitive Surgical, Inc. (“Intuitive”) have conferred and submit this joint status

report, pursuant to the Court’s Scheduling and Mediation Order dated November

15, 2019. (ECF No. 48.)
     Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 2 of 8




      Current Status: The parties have been working cooperatively and diligently

to move discovery forward to comply with the deadlines in the scheduling order.

They have exchanged a substantial volume of written discovery requests and

participated in productive meet and confer discussions that so far have allowed the

parties to address potentially difficult issues without needing to seek the assistance

of the Court. They have also served subpoenas to third parties and are in the midst

of meet and confer discussions with counsel for the third parties.

      Notwithstanding these efforts, the ability of litigants and third parties to

collect and produce documents has been hampered by disruptions caused by the

COVID-19 pandemic. In order to maintain physical distance consistent with

federal and state public health guidelines and recommendations, Restore has

limited the presence of employees at its headquarters in Atlanta. Restore has also

been overwhelmed by the time required to stand up a new line of business –

supplying tens of millions of masks and millions of respirators in the last six weeks

– to fulfill urgent requests from hospitals for personal protective equipment.

Finally, hospitals, who are the customers in the markets at issue in this case, are

generally not in a position to receive and respond to subpoenas in any sort of

timely or orderly fashion.

      With respect to Intuitive, its headquarters is located in Santa Clara County,

California, and, for the most part, the custodians pertinent to this case work at


                                          2
     Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 3 of 8




headquarters and live in the surrounding area. On March 16, 2020, Santa Clara

County issued a rigorous shelter-in-place order, one of the first in the country.

(See Exhibit A.) Under this order, although some of the Company’s manufacturing

and operations employees continued to manufacture and distribute Intuitive’s

essential medical products from the Company’s headquarters, the majority of the

Company’s employees was required to work from home. The current shelter-in-

place order in effect in Santa Clara County, which is set to expire on May 31,

2020, continues to restrict travel and requires residents to shelter in place, with the

exception of engaging in certain essential and outdoor business activities.

      The parties anticipate that given the work that remains with discovery, as

well as ongoing and anticipated disruptions caused by the COVID-19 pandemic,

they will need an extension of the October 30, 2020 fact discovery deadline by 90

days. Although this extension would require moving out other deadlines in the

scheduling order, the parties believe it will not impact the trial date, and anticipate

this case being trial ready in or before February 2022, consistent with the Court’s

preference as noted in the scheduling order.

      Written Discovery: The parties have actively engaged in written discovery

requests of each other. Restore has propounded 61 document production requests,

20 interrogatories, and 15 requests for admission on Intuitive. Intuitive has

propounded 64 document production requests, 11 interrogatories, and 27 requests


                                           3
     Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 4 of 8




for admission on Restore. So far, both parties have timely served responses to

written discovery requests and continue to meet and confer to discuss issues on a

near weekly basis. These discussions have been productive and have helped to

clarify and narrow disputed issues between the parties. There are some unresolved

disputes that the parties continue to work through and, if necessary, at the

appropriate time one or both parties may file a motion with the court to resolve

these issues.

      Amending Pleadings and Joining Parties: As permitted in the scheduling

order, the parties have agreed to extend the deadline for amending pleadings and

joining parties to July 31, 2020.

      Third Party Discovery: Restore and Intuitive have each served subpoenas on

the following third parties: Rebotix Repair, LLC, TransEnterix, Inc., Medrobotics

Corporation, and CMR Surgical. Although third party discovery is moving

forward, efforts to obtain documents from one of the subpoena recipients have

stalled, as that company’s president is reportedly recovering from COVID-19. The

parties anticipate serving additional subpoenas on third parties.

      Depositions: No depositions have been scheduled, as necessary document

collection and production is still ongoing. In-person depositions will require

significant air travel in this case as counsel and witnesses are located in different

geographical areas across the country. The parties are discussing when depositions


                                           4
      Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 5 of 8




will begin and, anticipating that in-person depositions may not be feasible in the

near future, whether and under what circumstances any depositions can be

conducted remotely by video.

      Expert Disclosures: The parties have brought claims and counterclaims in

several complex areas of the law that may call for expert testimony. Restore has

suggested, and Intuitive does not oppose, a change to the schedule for expert

disclosures wherein expert reports regarding an issue on which a party has the

burden of proof will be served in an initial round of disclosures, followed by

disclosures from the experts of the opposing party, and allowing for reply reports.

As a result, expert disclosures would take place in three stages: (1) plaintiff’s (or

counterclaimant’s) initial expert reports, (2) defendant’s (or counterdefendant’s)

initial expert reports, and (3) plaintiff’s (or counterclaimant’s) rebuttal expert

reports. Pursuant to Fed. R. Civ. P. 26(a)(2)(D)(ii), plaintiff’s or counterclaimant’s

rebuttal expert reports must be “intended solely to contradict or rebut evidence on

the same subject matter identified” by the defendant or counterdefendant in its

initial expert reports. The proposed dates below reflect that change in the

sequencing of expert reports.

      Discovery Deadlines: The scheduling order provides that discovery

deadlines may be extended by (a) an agreement of the parties or (b) unanticipated

extraordinary circumstances beyond the parties’ control that are brought to the


                                           5
      Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 6 of 8




Court’s attention as soon as they arise. The parties will continue to make good

faith efforts to move discovery forward, particularly with respect to document

collection and production, but given the work that remains with discovery, and the

unprecedented disruptions caused by the COVID-19 pandemic, anticipate requiring

a 90-day extension of the fact discovery deadline. This extension would likely

require extensions of the other deadlines in the scheduling order as follows, while

still allowing for trial of this case in or before February 2022.

 Event                                             Current           Proposed
                                                   Deadline          Deadline
 Close of fact discovery                           10/30/20          01/28/21
 Completion of mediation                           12/11/20          03/11/21
 Date to serve plaintiff’s (or                     12/11/20          03/11/21
 counterclaimant’s) initial expert reports
 Date to serve defendant’s (or                        n/a             04/22/21
 counterdefendant’s) initial expert reports
 Date to serve plaintiff’s (or                     01/22/21           05/20/21
 counterclaimant’s) rebuttal expert
 reports
 Close of expert discovery                         02/19/21           06/17/21
 Date to file summary judgment or other            03/19/21           07/15/21
 potentially dispositive motions and
 Daubert motions
 Date to file responses to summary                 04/16/21           08/12/21
 judgment or other potentially dispositive
 motions and Daubert motions
 Date to file replies to summary judgment          04/30/21           08/26/21
 or other potentially dispositive motions
 and Daubert motions
 Trial                                            In or before      In or before
                                                   Feb. 2022         Feb. 2022



                                           6
     Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 7 of 8




      Request to Continue Case Management Conference: Should the Court agree

to extend the deadlines consistent with the parties’ joint request, the parties also

respectfully request that the Court continue the telephonic case management

conference scheduled for May 14, 2020 for 90 days to a day and time at the

Court’s convenience, to discuss the progress of the case.




      Respectfully submitted on May 4, 2020.

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                                           7
     Case 5:19-cv-00055-TKW-MJF Document 54 Filed 05/04/20 Page 8 of 8




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Pursuant to Local Rule 5.1(F)(1)(a), a certificate of service is not required.




                                           8
